Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 1 of 65




                     Exhibit 10E
                  TO UNITED STATES’ BILL OF COSTS
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 2 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 3 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 4 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 5 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 6 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 7 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 8 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 9 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 10 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 11 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 12 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 13 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 14 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 15 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 16 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 17 of 65




                                                               Witness Fees_349
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 18 of 65




                                                               Witness Fees_350
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 19 of 65




                                                               Witness Fees_351
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 20 of 65




                                                               Witness Fees_352
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 21 of 65




                                                               Witness Fees_353
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 22 of 65




                                                               Witness Fees_354
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 23 of 65




                                                               Witness Fees_355
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 24 of 65




                                                               Witness Fees_356
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 25 of 65




                                                               Witness Fees_357
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 26 of 65




                                                               Witness Fees_358
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 27 of 65




                                                               Witness Fees_359
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 28 of 65




                                                               Witness Fees_360
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 29 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 30 of 65




                                                               Witness Fees_362
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 31 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 32 of 65




                                                               Witness Fees_364
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 33 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 34 of 65




                                                               Witness Fees_366
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 35 of 65




                                                               Witness Fees_367
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 36 of 65




                                                               Witness Fees_368
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 37 of 65




                                                               Witness Fees_369
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 38 of 65




                                                               Witness Fees_370
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 39 of 65




                                                               Witness Fees_371
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 40 of 65




                                                               Witness Fees_372
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 41 of 65




                                                               Witness Fees_373
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 42 of 65




                                                               Witness Fees_374
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 43 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 44 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 45 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 46 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 47 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 48 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 49 of 65




                                                               Witness Fees_381
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 50 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 51 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 52 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 53 of 65




                                                               Witness Fees_385
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 54 of 65




                                                              Witness Fees_386
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 55 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 56 of 65




                                                               Witness Fees_388
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 57 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 58 of 65




                                                               Witness Fees_390
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 59 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 60 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 61 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 62 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 63 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 64 of 65
Case 2:10-md-02179-CJB-DPC Document 15835-15 Filed 02/08/16 Page 65 of 65
